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                     IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH

                                                 INDICTMENT
 UNITED STATES OF AMERICA,
                                                 Count I: 21 U.S.C. § 841(a)(l),
        Plaintiff,                               Possession ofFentanyl with Intent to
                                                 Distribute (> 400 grams)
        vs.
                                                 Count II: 8 U.S.C. § 1326,
  SIMON ARELEQUIN TELLEZ-                        Reentry of a Previously Removed Alien
  ROSALES,

        Defendant.                                       Case: 2:25-cr-00279
                                                         Assigned To : Parrish, Jill N.
                                                         Assign. Date: 7/15/2025




      The Grand Jury Charges:

                                       COUNT!
                                  21 U.S.C. § 841(a)(l)
                     (Possession ofFentanyl with Intent to Distribute)

      On or about July 10, 2025, in the District of Utah,

                      SIMON ARELEQUIN TELLEZ-ROSALES,


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defendant herein, did knowingly and intentionally possess with intent to distribute four

hundred (400) grams or more of a mixture or substance containing a detectable amount of

N-phenyl-N-[1- ( 2-phenylethyl )-4-piperidinyl] propanamide ("Fentanyl"), a Schedule II

controlled substance within the meaning of21 U.S.C. § 812, all in violation of21 U.S.C. §

841(a)(l), and punishable pursuant to 21 U.S.C. § 841(b)(l)(A).

                                         COUNT II
                                       8 U.S.C. § 1326
                          (Reentry of a Previously Removed Alien)

         On or about July 10, 2025, in the District of Utah,

                        SIMON ARELEQUIN TELLEZ-ROSALES,

the defendant herein, an alien who on or about September 9, 2022, was excluded,

removed, and deported from the United States, did knowingly reenter and was found in

the United States in the District of Utah, having not obtained the consent of the Secretary

of the United States Department of Homeland Security to reapply for admission into the

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United States; all in violation of 8 U.S.C. § 1326(a) and punishable pursuant to 8 U.S.C.

§ 1326(b)(2).


                                           A TRUE BILL:




                                           FOREPERSOl~) TIIB GRAND JURY


FELICE JOHN VITI
Acting United States Attorney



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Special Assistant United States Attorney




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